       Case 1:23-cr-00748-KWR             Document 355         Filed 03/18/25       Page 1 of 6




                        IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

                Plaintiff,

        vs.                                                                   No. 23-CR-0748-KWR-1

SOLOMON PEÑA,

                Defendant.

     DEFENDANT’S OBJECTIONS TO THE GOVERNMENT’S LAST-MINUTE JURY-
                      INSTRUCTION MODIFICATIONS

        Defendant Solomon Peña strenuously objects to the latter two 1 of the four new jury-

instruction modifications requested in the United States’ Sealed Response to Court’s Third Jury

Instructions (Dkt. No. 354) (filed Mar. 17, 2025 @ 6:58 p.m.) (“Last-Minute Modifications”).

I.      The insertion of a totally new and exotic (having no Tenth Circuit pattern) theory of
        liability on the (literal) eve of trial violates Rule 30, Due Process, and the Court’s
        orders on jury instructions; it materially prejudices Mr. Peña, who has had no
        opportunity to develop evidence on the new theory and now has little opportunity to
        research and argue the law; and it creates disruption to other, already-settled
        instructions.

        The Government wants to pursue a theory of liability under subsection (b) — versus the

much-more-frequently-used subsection (a) — of 18 U.S.C. § 2, despite not having breathed a word

of this theory at any point in this case prior to ~13 hours before the Court will instruct the jury and

the parties will deliver their closing arguments. This is totally unacceptable.




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          Mr. Peña does not have a problem with (1) the removal of the words “special” and “primary” in
the § 245-elements instructions; or (2) the addition of the “mixed election” language to that same element
of those same instructions. See Last-Minute Modifications at 2-3.
       Case 1:23-cr-00748-KWR              Document 355         Filed 03/18/25        Page 2 of 6




        First, the Government wants to add “6, 7, 8, and 9” to the list of counts in the ‘main’ aiding-

and-abetting instruction on page 29 of the Third Sealed Court Proposed Instructions (Dkt. No. 347)

(filed Mar. 5, 2025) (“Court’s Instructions”). The reason those counts are not included in that

instruction is that they already have their own dedicated aiding-and-abetting instructions, found

on pages 36 (Counts 6-8) and 41 (Count 9) of the Court’s Instructions. Counts 6-9 are § 924(c)

charges, and aiding and abetting a § 924(c) violation has its own special Tenth Circuit pattern

instruction. See Tenth Cir. Pattern Crim. Instr. No. 2.45.2 & 2.45.3. The Government apparently

just wants overlapping-and-duplicative-but-also-contradictory instructions on those counts, or

maybe it just didn’t want to take the time to sort out the issue (i.e., how does a § 2(b) theory apply

to § 924(c)? a § 924(c) machinegun count?). This issue is listed first because it’s the first problem

one comes across when reading the Government’s request, but it’s frankly the least of the requested

instruction’s problems.

        Second, speaking of the Tenth Circuit pattern instructions, there is no Tenth Circuit pattern

instruction on 18 U.S.C. § 2(b) liability, and those circuits that do have pattern instructions vary

wildly in their language, see 3d Cir. Model Crim. Instr. Nos. 7.05 & 5.05; 6th Cir. Pattern Crim.

Instr. No. 4.01A; 7th Cir. Pattern Crim. Instr. No. 5.06; 8th Cir. Pattern Crim. Instr. No. 5.02 &

7.02; 9th Cir. Pattern Crim. Instr. No. 4.2; 11th Cir. Pattern Crim. Instr. No. S7, which appears to

reflect a fundamental but largely unexamined split in how courts conceptualize this little-used

basis for liability, 2 see, e.g., Justice Manual §§ 2476-2483 (discussing in detail arcane aspects of

aiding-and-abetting liability under § 2(a), but not discussing § 2(b) liability at all). Which circuit’s



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           Many courts, including the Second Circuit, appear to view § 2(b) as intended mostly to cover
situations where the ‘causer’-defendant lacks the capacity to commit the crime in question himself, e.g., if
a statute imposes duties/liability only on banks, a bank employee can still be found guilty under § 2(b) of
causing the bank’s violation. See generally Andrew White, The Scope of Accomplice Liability Under
18 U.S.C. 2(b), 31 Case W. L. Rev. 386 (1981).


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      Case 1:23-cr-00748-KWR            Document 355        Filed 03/18/25      Page 3 of 6




pattern instruction did the Government opt for? Apparently… none of the above, electing to

fashion its own bespoke instruction that it has merged into the § 2(a) instruction.

       Third, instructing on § 2(b) will require the Court to also instruct, at a minimum, on the

definition of “willfulness,” see 18 U.S.C. § 2(b) (“Whoever willfully causes an act to be

done . . . .”); 3d Cir. Model Crim. Instr. No. 7.05 (“When the trial court instructs on causing the

criminal acts of another under 18 U.S.C. § 2(b), the court should also define “willfully” . . . .”),

which also does not have a Tenth Circuit pattern instruction — although it does have a non-

instruction-containing “comment” going on at length about how complicated this question is, see

Tenth Cir. Pattern Crim. Instr. No. 1.38 (“The Committee does not recommend any general

instruction defining the term ‘willfully’ because no single instruction can accurately encompass

the different meanings this term has in federal criminal law. This term is ‘a word of many

meanings, its construction often being influenced by its context.’” (one set of quotation marks

omitted)). The Government proposes no such instruction.

       Fourth, this late-stage addition of a new theory may constitute a constructive amendment

of, or material variance from, the indictment. Although 18 U.S.C. § 2 does not usually have to be

charged to be instructed upon (it’s considered a theory of liability, not an independent crime), the

Tenth Circuit has expressed caution about the unindicted inclusion of § 2(b) liability in a case,

suggesting that some explicit notice must be given — possibly in the charging instrument itself, if

only through the inclusion of factual allegations specifically supporting the theory. See United

States. v. Montoya, 716 F.2d 1340, 1343 n.1 (10th Cir. 1983) (“In the instant case, the indictment

did not charge Montoya with a violation of § 2(b). However, as in Catena, ‘this omission is not

fatal,’ since the indictment against Montoya provided sufficient notice of the criminal violation by

incorporating the phrase, ‘presented and caused to be presented to the United States Department




                                                 3
       Case 1:23-cr-00748-KWR            Document 355        Filed 03/18/25       Page 4 of 6




of Energy a claim against the United States which he knew to be fraudulent.’” (citations omitted)).

It should also be noted that, unlike in the cases holding that an indictment that is silent about

18 U.S.C. § 2 nonetheless implicitly incorporates it, the Superseding Indictment (Dkt. No. 147)

(filed Mar. 26, 2024), here specifically states that it is alleging an “Aiding and Abetting” theory

— which certainly suggests that it’s not pursuing a § 2(b) theory (which goes by a number of

colloquial names (some unique to § 2(b), others not), including “causing,” “acting through

another,” “agency,” and “accomplice” liability). See Superseding Indictment at 1 (caption).

       Fifth, the ultra-late inclusion of this theory constitutes “unfair surprise,” see, e.g., United

States v. Neal, 951 F.2d 630, 633 (5th Cir. 1992) (noting that it can be “an abuse of discretion to

give [even the much more common and expected] aiding and abetting instruction” if there is a

“showing of unfair surprise”), and violates Rule 30 and the Court’s orders on the presentation and

iterative refinement of proposed jury instructions, see Fed. R. Crim. P. 30(a) (“The request must

be made at the close of the evidence or at any earlier time that the court reasonably sets.”

(emphasis added)); United States v. Gaskins, 849 F.2d 454 (9th Cir. 1988) (reversing convictions

where the district court gave an aiding-and-abetting instruction after earlier indicating that it would

not, and where the defendant was not given a fair opportunity to argue against the theory). The

addition is massively prejudicial both because Mr. Peña has not had the opportunity to develop

evidence on this theory and because he now has little opportunity to research and argue the law —

for example, Mr. Peña would rather be preparing his closing argument at this moment than

responding to these Last-Minute Modifications.

       Sixth, and similar to the first point (that being the unintended consequences that the

shoehorning of this theory in at the last second has on the rest of the instructions as a whole),

Mr. Peña has earlier requested a special verdict form and/or unanimity instruction in order to keep




                                                  4
        Case 1:23-cr-00748-KWR          Document 355        Filed 03/18/25      Page 5 of 6




straight the various arcane inchoate- and vicarious-liability theories (conspiracy, Pinkerton, aiding

and abetting, and now § 2(b)) being pursued by the Government. See Def’s Objs. to USA’s Prop.

Jury Instructions, No. 5, at 17 & nn.4-5 (Dkt. No. 336) (filed Feb. 10, 2025). This issue has largely

dropped out of the case after the Court ruled against Mr. Peña and the parties continued to go

through what is supposed to be an iteratively issue-narrowing process of back-and-forth Court-

proposed instructions and objections thereto. But the Government’s requested instruction reignites

this debate in a real way. See Gaskins, 849 F.2d 454, 460 (9th Cir. 1988) (“[W]e do not reach the

question whether a special unanimity instruction [vis-à-vis the aiding-and-abetting theory] was

required in this case.”).

         For these reasons and doubtless others — this request really is throwing a hand grenade

into the machinery at this point — the Court should deny the Government’s requested addition of

§ 2(b) language. The Government is really supposed to decide upon its theories of guilt before

trial, not after it.

II.      The Government’s requested removal of the solicitees named in the indictment would
         constitute a constructive amendment, or at least a material variance.

         The Government “proposes the removal of ‘to-wit: Rod White’ and ‘to-wit: Jeffrey

Chavez’ because the defendant did not intend that those witnesses would do the killings

themselves.” Last-Minute Modifications at 7. This is not acceptable because those specific

individuals are named (with numbered pseudonyms) in the Superseding Indictment. Cf. United

States v. Keller, 916 F.2d 628 (11th Cir. 1990) (holding that the trial court committed reversible

error by instructing jury that a defendant could be convicted of conspiracy with anyone, and not

just party named in indictment, as this constituted a constructive amendment of the indictment).

Removing all references to who is being solicited would allow the jury to potentially convict based

upon ‘ambient’ solicitation in the jail — the conclusion that he didn’t solicit any one “[]other


                                                 5
       Case 1:23-cr-00748-KWR            Document 355         Filed 03/18/25       Page 6 of 6




person” particularly seriously, but he solicited a whole lot of (unknown) people non-seriously, and

that’s pretty serious in the aggregate — and that possibility constitutes prejudice to Mr. Peña, thus

warranting reversal (or, at this stage, outright refusal of the modification to the instruction) even if

the change is viewed as merely a variance, rather than a constructive amendment.

                                          CONCLUSION

        The Court should deny the last two of the Last-Minute Modifications. This is really not

the time for the introduction of new, major game-changing theories of the case.


                                                                Respectfully submitted,

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This Filing Has No Exhibits




                                  CERTIFICATE OF SERVICE

        I hereby certify that on this 17th day of March 2025, I filed the foregoing Response &
Objections electronically via the Court’s CM/ECF filing system, causing a copy of it to be served
on all counsel of record.

                                                                HARRISON & HART, LLC

                                                                By:    /s/ Carter B. Harrison IV
                                                                      Carter B. Harrison IV


                                                   6
